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                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MISSOURI
                                      SOUTHEASTERN DIVISION

                                                         §        Chapter 11
 In re:                                                  §
                                                         §        Case No. 20-43597-399
 BRIGGS & STRATTON                                       §
 CORPORATION, et al.,                                    §        (Jointly Administered)
                                                         §
                     Debtors.                            §

       APPLICATION OF THE PLAN ADMINISTRATOR FOR ENTRY OF AN ORDER
       CLOSING CERTAIN CHAPTER 11 CASES AND GRANTING RELATED RELIEF

                     Alan D. Halperin, as Plan Administrator (the “Plan Administrator”) under the

 Amended Joint Chapter 11 Plan of Briggs & Stratton Corporation and its Affiliated Debtors, dated

 November 9, 2020 [Docket No. 1226] (the “Plan”),1 by and through undersigned counsel, hereby

 files this application (the “Application”), pursuant to sections 105(a) and 350(a) of 11 U.S.C.

 §§ 101-1532 (as amended and applicable herein, the “Bankruptcy Code”), Rule 3022 of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 3022(A) of the Local

 Rules of Bankruptcy Procedure for the United States Bankruptcy Court for the Eastern District of

 Missouri (the “Local Rules”), for entry of an order (a) authorizing the closure of: (1) Case No. 20-

 10575 (In re Billy Goat Industries, Inc.) and (2) Case No. 20-43598 (In re Allmand Bros., Inc.)

 (collectively, the “Closing Cases”); (b) leaving open the lead case, Case No. 20-43597 (In re

 Briggs & Stratton Corporation); and (c) granting related relief. In support of the Application, the

 Plan Administrator respectfully represents as follows:

                     1.        On July 20, 2020 (the “Petition Date”), the Debtors each commenced with

 this Court a voluntary case under the Bankruptcy Code. The Debtors are authorized to continue




 1
     Capitalized terms used but not defined herein have the meanings ascribed to them in the Plan.



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 to operate their business and manage their properties as debtors in possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code.

                     2.        On August 5, 2020, the United States Trustee appointed an official

 committee of unsecured creditors (the “Creditors’ Committee”) in these chapter 11 cases

 pursuant to section 1102 of the Bankruptcy Code. No trustee or examiner has been appointed in

 these chapter 11 cases. The Debtors’ chapter 11 cases are being jointly administered for procedural

 purposes only pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015(b).

                     3.        On September 15, 2020, the Court entered an order authorizing the Debtors

 to sell substantially all of their assets2 to Bucephalus Buyer, LLC and on September 21, 2020, the

 Debtors closed the Sale Transaction.3 On December 16, 2020, the Debtors filed the Plan, which

 was confirmed by the Findings of Fact, Conclusions of Law, and Order Confirming the Plan on

 December 18, 2020 [Docket No. 1485] (the “Confirmation Order”).

                     4.        The Effective Date of the Plan occurred on January 6, 2021 and the Notice

 of (I) Entry of Order Confirming Second Amended Joint Chapter 11 Plan of Briggs & Stratton

 Corporation and its Affiliated Debtors and (II) Occurrence of Effective Date [Docket No. 1538]

 was filed, at which time the Creditors’ Committee was relieved of its duties and the Plan

 Administrator took over the administration of the Wind-Down Estates in accordance with the Plan.

 The Wind-Down Estates continue to honor their post-closing sale obligations, wind down the

 estates, and otherwise work on concluding these chapter 11 cases.




 2
     Order (I) Authorizing the Sale of the Asserts and Equity Interests to the Purchaser Free and Clear of Liens, Claims,
     Interests, and Encumbrances; (II) Authorizing the Assumption and Assignment of Certain Executory Contracts and
     Unexpired Leases; and (III) Granting Related Relief [Docket No. 898].
 3
     See Notice of (I) Filing of Amendment to Stock and Asset Purchase Agreement, And (II) the Occurrence of Closing
     of the Sale Transaction [Docket No. 964].




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                     5.        On February 12, 2020, the Bankruptcy Court entered that certain Order

 Approving (I) Claims Objection Procedures; (II) Claims Hearing Procedures; and (III) Granting

 Related Relief [Docket No. 1614].

                     6.        Pursuant to an order dated August 24, 2020 [Docket No. 564] (the “General

 Bar Date Order”), this Court established October 7, 2020 (the “General Bar Date”) as the last

 day for non-governmental entities to file pre-petition claims against the Debtors and their estates,

 and January 19, 2021 as the last day for governmental entities to file pre-petition claims against

 the Debtors and their estates. In accordance with the General Bar Date Order, Kurtzman Carson

 Consultants, LLC, as Claims and Noticing Agent and Administrative Advisor, served a Notice of

 Deadlines to File Proofs of Claim and a Proof of Claim Form as evidenced by the Certificate of

 Service filed with this Court [Docket No. 576]. Additionally, in accordance with the General Bar

 Date Order, the Debtors published a notice of the General Bar Date in the national edition of the

 New York Times (national edition) and once in the St. Louis Post Dispatch, as evidenced by the

 Certificate of Publication filed with this Court [Docket No. 826].

                     7.        By order dated October 19, 2020 [Docket No. 1121] (the “Administrative

 Bar Date Order”), this Court fixed November 23, 2020 as the deadline by which all persons or

 entities who hold claims arising during the administration of the chapter 11 cases between the

 Petition Date and October 19, 2020 (the “Administrative Claims”) must file proofs of

 administrative claim against the Debtors.

                     8.        In the Administrative Bar Date Order, the Court also established the

 deadline of January 19, 2021 at 5:00 p.m. (Central Time) for each Governmental Unit that asserts

 entitlement to administrative priority status under sections 503 and/or 507 of the Bankruptcy Code

 for claims that arose between the Petition Date and October 19, 2020.




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                     9.        On March 10, 2022, the Court entered that certain Order Closing Certain

 Chapter 11 Cases and Granting Related Relief [Docket No. 2101] (the “First Case Closure

 Order”). The First Case Closure Order closed the two non-operating debtor companies, In re

 Briggs & Stratton International, Inc. (Case No. 20-43599) and In re Briggs & Stratton Tech, LLC

 (Case No. 20-43600).

                     10.       Pursuant to the Plan, the Reorganized Debtors continue to file quarterly

 reports and pay U.S. Trustee fees (the “U.S. Trustee Fees”) based on the volume of disbursements

 made by each of the Debtors in the applicable calendar quarter. See, e.g., 28 U.S.C. § 1930(a)(6)

 (requiring the payment of quarterly fees to the trustee). In light of the revised U.S. Trustee Fee

 scale recently enacted under the Bankruptcy Judgeship Act of 2017, Pub. L. No. 115-72, on a

 prospective basis, each Debtor is required to pay between $325.00 and $250,000.00 in U.S.

 Trustee Fees per calendar quarter.

                     11.       Pursuant to the Plan, the Plan Administrator has satisfied all allowed

 secured, administrative and priority claims and has made two interim distributions on account of

 general unsecured claims. The first interim distribution was in the amount of six percent (6%) at

 the Briggs & Stratton Corporation level, with corresponding amounts at the other operating

 company subsidiaries in accordance with the Plan’s waterfall. The second interim distribution was

 in the amount of two percent (2%) at the Briggs & Stratton Corporation level, with corresponding

 amounts at the other operating company subsidiaries in accordance with the Plan’s waterfall. The

 Disclosure Statement in these cases anticipated a recovery to general unsecured creditors of Briggs

 & Stratton Corporation in the range of 6-8%, the high end of which has been achieved.4



 4
  Billy Goat and Allmand Bros. were forecasted much lower percentage recoveries, in the range of 1-2% total, at
 each company. For the avoidance of doubt, the vast majority of the anticipated recoveries at the Billy Goat and
 Allmand Bros. level have been distributed.




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                     12.       The Plan Administrator anticipates that there will be at least one more

 distribution to general unsecured creditors, but the timing of that and/or a final distribution in these

 cases is uncertain. That is because the timing of liquidation of the remaining assets to be liquidated

 for the benefit of creditors is not in the Plan Administrator’s control (e.g. pending tax refunds,

 potential recoveries on workers’ compensation collateral, plaintiff side litigations). Accordingly,

 the Plan Administrator believes it is in the Wind-Down Estates’ best interests to minimize the

 administrative burden of the estates as much as possible to preserve and, hopefully, increase the

 remaining assets to be distributed to creditors. Closing the Billy Goat and Allmand Bros. cases

 will ease the administrative burden of the Wind-Down Estates for reporting and other

 administrative purposes.

                     13.       All claims reconciliation in the Closing Cases is complete, and substantially

 all distributions have been made.              The Plan Administrator proposes to report any small

 distributions that may remain under the Lead Case and to pay the requisite U.S. Trustee fees within

 that Lead Case.

                                                JURISDICTION

                     14.       The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

 §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

 before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                     15.       The statutory predicate for the relief requested herein is Bankruptcy Code

 sections 105(a) and 350(a). Such relief is also warranted under Bankruptcy Rule 3022 and Local

 Rule 3022(A).

                                            RELIEF REQUESTED

                     16.       Pursuant to sections 105(a) and 350(a) of the Bankruptcy Code, Bankruptcy

 Rule 3022, and Local Rule 3022(A), the Plan Administrator requests the entry of an order (the



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 “Proposed Order”)5 (a) authorizing the closure of: (1) Case No. 20-10575 (In re Billy Goat

 Industries, Inc.), and (2) Case No. 20-43598 (In re Allmand Bros., Inc.); (b) leaving open Case No.

 20-43597 (In re Briggs & Stratton Corporation); and (c) granting related relief.

                                             BASIS FOR RELIEF

                     17.       Section 350(a) of the Bankruptcy Code provides that “[a]fter an estate is

 fully administered and the court has discharged the trustee, the court shall close the case.” 11

 U.S.C. § 350(a).             Further, Bankruptcy Rule 3022 provides that “[a]fter an estate is fully

 administered in a chapter 11 reorganization case, the court, on its own motion or on motion of a

 party interest, shall enter a final decree closing the case.” Fed. R. Bankr. P. 3022.

                     18.       In addition, in the Eastern District of Missouri, an application for a final

 decree must include information concerning:

                ▪    the date the order confirming the plan became final;
                ▪    whether deposits required by the plan have been made;
                ▪    whether the property proposed by the plan to be transferred has been transferred;
                ▪    whether the debtor or successor of the debtor under the plan has assumed the
                     business or the management of the property dealt with by the plan;
                ▪    whether payments under the plan have commenced;
                ▪    a breakdown of the disbursements, as applicable, from the inception of the case for
                     fees and expenses of debtor's counsel and other professionals;
                ▪    the percentage dividend paid and/or to be paid, or an explanation of why the
                     dividend percentage is not yet determinable;
                ▪    the status of all pending motions, contested matters, objections to claims, and
                     adversary proceedings;
                ▪    a list of all motions, contested matters, objections to claims, and adversary
                     proceedings which are to be filed;
                ▪    whether all fees due the United States Trustee have been paid; and
                ▪    other facts as may be necessary to enable the Court to determine whether entry of
                     the final decree is appropriate. The application for final decree shall state that the
                     estate has been fully administered.

       See Local Rule 3022(A). Local Rule 3022(A) further provides that:



 5
      Copies of the Proposed Order will be made available on the Debtors’ case information website at
     http://www.kccllc.net/Briggs.




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            No later than 3 months after entry of the confirmation order in a Chapter 11 case,
            the plan proponent must file an application for a final decree or show cause why
            the final decree should not be entered. At or before the show cause hearing, the plan
            proponent must file a status report as required herein. Commencing with the
            seventh month after confirmation, the plan proponent shall file a status report every
            4 months until the entry of the final decree.

      Id.
                     19.       While the phrase “fully administered” is not defined in the Bankruptcy Code

 or in the Bankruptcy Rules, “fully administered” can be interpreted in various ways. “At one

 extreme, an estate could be fully administered when a Chapter 11 plan is confirmed and the estate

 dissolves . . . [a]t the other extreme, an estate could be fully administered when all that is called

 for under a plan occurs.” In re Mold Makers, Inc., 124 B.R. 766, 768 (Bankr. N.D. Ill. 1990).

                     20.       Bankruptcy Rule 3022 gives the court “flexibility in determining whether

 an estate is fully administered.” In re Federated Dep't Stores, Inc., 43 F. App’x 820, 822 (6th Cir.

 2002). In fact, “bankruptcy courts are charged with reviewing each request for entry of a final

 decree on a case-by-case basis in determining whether an estate has been fully administered.” In

 re Shotkoski, 420 B.R. 479, 483 (B.A.P. 8th Cir. 2009).

                     21.       The Advisory Committee Note to Bankruptcy Rule 3022 explains that

 courts may consider the following factors when determining whether an estate has been fully

 administered:

                ▪    whether the order confirming the plan has become final;
                ▪    whether deposits required by the plan have been distributed;
                ▪    whether the property proposed by the plan to be transferred has been transferred;
                ▪    whether the debtor or the successor of the debtor under the plan has assumed the
                     business or the management of the property dealt with by the plan;
                ▪    whether payments under the plan have commenced; and
                ▪    whether all motions, contested matters, and adversary proceedings have been
                     finally resolved.

 Fed. R. Bankr. P. 3022 Advisory Committee Note (1991). However, several courts have noted

 that these six (6) factors are not requirements – rather, they are non-exclusive guides used in




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 determining if a case has been fully administered. See In re Shotkoski, 420 B.R. at 483; In re

 Kliegl Bros. Universal Elec. Stage Lighting Co., Inc., 238 B.R. 531, 542 (Bankr. E.D.N.Y. 1999);

 In re SLI, Inc., Case No. 02-12608, 2005 WL 1668396, at *2 (Bankr. D. Del. 2005); In re Mold

 Makers, Inc., 124 B.R. at 768. “The court should not keep the case open only because of the

 possibility that the court’s jurisdiction may be invoked in the future.” Fed. R. Bankr. P. 3022

 Advisory Committee Note (1991).

                     22.       Additionally, other courts have found “that a Chapter 11 case should be

 considered ‘fully administered’ when it reaches a point of substantial consummation as defined in

 Section 1101(2) [of the Bankruptcy Code].” In re Gates Cmty. Chapel of Rochester, Inc., 212

 B.R. 220, 224 (Bankr. W.D.N.Y. 1997) (citing Walnut Assocs. v. Saidel, 164 B.R. 487 (E.D. Pa.

 1994)); accord In re BankEast Corp., 132 B.R. 665 (Bankr. D.N.H. 1991). Section 1101(2) of the

 Bankruptcy Code defines “substantial consummation” as:

           (A) transfer of all or substantially all of the property proposed by the plan to be
           transferred; (B) assumption by the debtor or by the successor to the debtor under
           the plan of business or of the management of all or substantially all of the property
           dealt with the plan; and (C) commencement of distribution under the plan.

 11 U.S.C. § 1101(2).

                                                ARGUMENT

                     23.       The Closing Cases have been “fully administered” within the meaning of

 section 350 of the Bankruptcy Code and the factors enumerated in the Advisory Committee Note

 to Bankruptcy Rule 3022. Specifically, in support of the entry of a final decree closing the Closing

 Cases, and pursuant to Local Rule 3022(A), the Reorganized Debtors disclose the following

 information:

                             Question                                     Response
  1. The date the order confirming the Plan Confirmation Order – December 18, 2020
     became final:                          Plan Effective Date – January 6, 2021




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                             Question                                                   Response
     2. Whether deposits required by the Plan have                 Yes.
        been made:
     3. Whether the property proposed by the Plan                  Yes.
        to be transferred has been transferred:
     4. Whether each debtor or successor of each                   Yes.
        debtor under the Plan has assumed the
        business or the management of the
        property dealt with by the Plan:
     5. Whether payments under the Plan have                       Yes.
        commenced:
     6. A breakdown of the disbursements, as                       See FN.6
        applicable, from the inception of the case
        for fees and expenses of the debtor’s
        counsel and other professionals:
     7. The percentage dividend paid and/or to be                  Briggs & Stratton Corp. – 8.0%
        paid, or an explanation of why the
        dividend percentage is not yet                             Billy Goat – 1.27%
        determinable:7
                                                                   Allmand Bros. – 0.99%

     8. The status of all pending motions,                         There are no pending motions, contested
        contested matters, objections to claims,                   matters, objections to claims, or adversary
        and adversary proceedings:                                 proceedings related to the Closing Cases.
     9. A list of all motions, contested matters,                  There are no anticipated motions, contested
        objections to claims, and adversary                        matters, objections to claims, or adversary
        proceedings which are to be filed:                         proceedings expected to be filed related
                                                                   solely to the Closing Cases. The Plan
                                                                   Administrator will administer claims in the
                                                                   remaining case (Case No. 20-43597 (In re
                                                                   Briggs & Stratton Corporation).
     10. Whether all fees due to the United States                 Yes.
         Trustee have been paid:




 6
     The Plan Administrator posits that this question is better answered when the Lead Case is sought to be closed. Given
     that all fees of Debtors’ counsel were disclosed in final applications more than a year ago, the information is publicly
     available to any interested party. To randomly assign the value of such services to the Closing Cases, which are
     being closed for administrative convenience, would not provide any meaningful information to parties in interest.
     To the extent required, the Plan Administrator assigns no value to the disbursements for fees and expenses of
     Debtors’ counsel and other professionals on account of the Closing Cases.
 7
   These percentages apply to all creditors except for the Pension Benefit Guaranty Corporation, which subordinated
 the first $5 million of its recoveries for the benefit of other unsecured creditors, reducing its percentage recovery.




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                     24.       Closing the Closing Cases would eliminate inefficiencies in management of

 estate assets by virtue of carrying the burden of reporting on two entirely administered cases. The

 Plan Administrator remains focused on returning the greatest recovery to the creditors. In

 furtherance of this goal, entry of an order closing the Closing Cases would stop the financial drain

 on the Debtors imposed by the accrual of the revised U.S. Trustee Fees and support the Plan

 Administrator’s continued efforts to streamline these chapter 11 cases. See In re Jay Bee Enters.,

 Inc., 207 B.R. 536, 539 (Bankr. E.D. Ky. 1997) (concluding “it seems appropriate to close this

 case to stop the financial drain on the debtor” on account of the continuing accrual of fees under

 28 U.S.C. § 1930).

                     25.       The closure of the Closing Cases will not impair the rights of any economic

 party in interest. Rather, the continuation of the Closing Cases is simply unnecessary for the

 Debtors to accomplish the remaining claims administration process. Therefore, for the reasons

 outlined above, the Plan Administrator submits that justification exists for the Court to grant the

 relief requested herein.

                                        RESERVATION OF RIGHTS

                     26.       The Plan Administrator reserves the right to further supplement this

 Application as necessary, in accordance with applicable law. Without limiting the generality of

 the foregoing, the Plan Administrator specifically reserves the right to amend this Application, file

 additional papers in support of this Application, and take other appropriate actions, including, but

 not limited to, responding to any allegation or objection that may be raised in response to this

 Application.

                                                      NOTICE




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                     27.       Notice of this Application has been given to the Office of the United States

 Trustee, the PBGC, and any other party entitled to notice pursuant to Bankruptcy Rule 2002. In

 light of the nature of the relief requested, the Plan Administrator submits that no further notice is

 required.

                                              NO PRIOR REQUEST

                     28.       No prior request for the relief sought in this Application has been made to

 this Court or any other court in connection with these chapter 11 cases.

                                                  CONCLUSION

                     WHEREFORE, the Plan Administrator respectfully requests entry of the Proposed

 Order (a) authorizing the closure of: (1) Case No. 20-10575 (In re Billy Goat Industries, Inc.), and

 Case No. 20-43598 (In re Allmand Bros., Inc.); (b) leaving open Case No. 20-43597 (In re Briggs

 & Stratton Corporation); (c) entry of a final decree; and (d) granting such other and further relief

 as the Court may deem just and appropriate.




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 Dated: September 19, 2022
        St. Louis, Missouri

                                                  Respectfully submitted,

                                                  CARMODY MACDONALD P.C.


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